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UNITED STATES DISTRICT COURT                       SOUTHERN DISTRICT OF TEXAS

                                 HOUSTON DIVISION

John Hancock Life Insurance Company
(U.S.A.)
   Plaintiff(s),

v.                                                       Case No. 4:18−cv−02869

The Estate of Jennifer Lauren Wheatley c/o
Louis A. Wheatley, et al.
  Defendant(s).



                             NOTICE OF SETTING
                             PLEASE TAKE NOTICE

                             HEARING: Status Conference
                                   DATE:     9/28/2021
                                   TIME:     02:00 PM
                               HAS BEEN SET BEFORE
                              JUDGE KEITH P. ELLISON


         ALL PARTIES MAY APPEAR BY TELEPHONE BY CALLING IN
            ON THE COURT'S DIAL−IN NUMBER AT 713−250−5238.
       ENTER CONFERENCE ID: 45238, FOLLOWED BY PASSWORD: 13579.
IF THE PARTIES WOULD LIKE TO JOINTLY REQUEST AN IN−PERSON HEARING,
               PLEASE NOTIFY ARTURO RIVERA BY EMAIL.




Nathan Ochsner, Clerk                                             Date: September 7, 2021
By Deputy Clerk, A. Rivera
